19-13895-jlg          Doc 503        Filed 07/22/21 Entered 07/22/21 21:49:32            Main Document
                                                  Pg 1 of 60




                                Tarter Krinsky & Drogin LLP
                                1350 Broadway
                                New York, NY 10018
                                P 212.216.8000
                                F 212.216.8001
                                www.tarterkrinsky.com

                                                                       Rocco A. Cavaliere, Partner
                                                                       Email: rcavaliere@tarterkrinsky.com
                                                                       Phone: (212) 216-1141

                                                                    July 22, 2021
BY ECF AND BY HAND

Honorable James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, NY 10004

                             Re:      In re Orly Genger
                                      Chapter 7 Case No. 19-13895

Dear Judge Garrity:

        Dalia Genger has filed an objection (the “Objection”) to the Chapter 7 Trustee's Motion
For An Order Pursuant To Rule 9019 Of The Federal Rules Of Bankruptcy Procedure (A)
Approving Settlement Agreement And (B) Granting Related Relief (the “Settlement Motion”)
which was electronically filed with the court [ECF No. 421]. The Objection includes its own
arguments and joins in the objections to the Settlement Motion filed by Sagi Genger and the Orly
Genger Trust, all of which objections, including the Objection, total approximately 120 pages.
Further, the Objection incorporates by reference Dalia’s amended complaint in her constructive
trust action pending before this Court and her objection to the defendants’ motions to dismiss
that action, all of which collectively total an additional approximate 80 pages, without exhibits.
See “Joinder” of Dalia Genger. [ECF No. 494] (“In establishing the facts in tandem with the
legal arguments made herein, Mrs. Genger relies on the statements made in her Amended
Complaint Seeking Declaratory Judgement [sic] recognizing a constructive trust and/or equitable
lien, found at Adv. Pro. No. 20-01010 (JLG) [Dkt. No. 8]…and in her Opposition to Various
Motions to Dismiss [Dkt. No. 39]”).

       In connection with the Settlement Motion, the Trustee served Dalia Genger with a notice
of deposition scheduled for June 22, 2021. After the hearing on the Settlement Motion was
adjourned to August 3, 2021, the Trustee served an amended notice of deposition scheduled for
July 22, 2021. The deposition did not take place for the reasons set forth below.



{Client/086201/1/02445819.DOCX;1 }
19-13895-jlg          Doc 503
                            Filed 07/22/21 Entered 07/22/21 21:49:32               Main Document
                                         Pg 2 of 60
Honorable James L. Garrity, Jr.
July 22, 2021
Page 2 of 3


        Without affirmatively seeking leave of the Court, and despite putting her claims and
allegations squarely before the Court with respect to the Settlement Motion and arguing that they
bar the Court from approving the Settlement Motion, Dalia’s counsel, Paul Labov, has refused to
produce Dalia for a deposition. In doing so, Mr. Labov, relies on Your Honor’s separate prior
ruling on June 15, 2021 relating to Sagi’s motion to dismiss (as to which Dalia purported not to
take a position), and states “In addition to Mrs. Genger’s health issues (which you are now well
aware of), there is simply no information Mrs. Genger could testify to in respect of your client’s
decision to enter into the settlement agreement. Given these issues, I am not planning on making
Mrs. Genger available for a deposition.” See Email at Exhibit “A”.

        But the Bankruptcy Rules do not allow Mr. Labov to unilaterally decide whether or not to
comply with the Trustee’s discovery requests. In issuing its prior ruling, the Court noted “I’m
denying that request and will adhere to my earlier ruling that Dalia would not be deposed in
connection with this hearing and not be called as a witness in this hearing. That is as it
relates to this hearing and without prejudice as we move forward, if indeed it becomes
relevant – that her testimony might be relevant in some other hearings.” See Transcript
(relevant portion of which attached as Exhibit “B”), p. 7:13 to 7:19 (emphasis added). As I
noted to Mr. Labov by email, the Court’s prior ruling related solely to Dalia’s testimony
pertaining to Sagi’s motion to dismiss this case, which she purports not to have joined, not the
Settlement Motion, in which she most definitely has joined in other objections and objected on
her own behalf. See Email at Exhibit “C”. And, notably, the Court squarely acknowledged
Dalia’s relevancy to this case, noting “Look, Dalia Genger is central to what's gone on in this
case, just as Orly and Sagi are.” [April 14 Transcript at 14:16-14:17]. A copy of the April 14th
Transcript as annexed here as Exhibit “D”.

        Moreover, Mr. Labov has previously acknowledged that Dalia’s deposition would be
warranted with respect to her constructive trust action. In an email dated June 10, 2020, Mr.
Labov stated “… we request that [Dalia’s] deposition be delayed until such time as her motion
for constructive trust is scheduled. At that time, appropriate health precautions will be taken in
light of the information then available.” [June 10, 2020 E-mail, attached hereto as Exhibit “E”].
As noted above, the Objection expressly incorporates by reference and thus relies upon the
claims and allegations that Dalia made in her amended complaint in the constructive trust action.
As the Court knows, several parties, including the Trustee, filed motions to dismiss the
constructive trust action, and it remains sub judice before the Court.

        Dalia cannot have it both ways. She cannot seek relief from this Court with respect to the
Settlement Motion, join in other parties’ filings, make substantial allegations of misconduct
against parties and yet evade discovery with respect to her own filings. Further, in light of
Dalia’s ability to review and approve her own Objection, which includes her own arguments and
joins in other arguments of other parties, totaling over 120 pages in total, and her ability to direct
counsel to file the Objection, Dalia cannot claim she is not medically fit to attend a virtual
deposition. Given the filing and content of her Objection, Dalia’s testimony is clearly relevant to
the Settlement Motion, and it would severely prejudice the Trustee and the Settling Parties to be


{Client/086201/1/02445819.DOCX;1 }
19-13895-jlg          Doc 503
                            Filed 07/22/21 Entered 07/22/21 21:49:32               Main Document
                                         Pg 3 of 60
Honorable James L. Garrity, Jr.
July 22, 2021
Page 3 of 3


denied the right to obtain discovery from Dalia with respect to her Objection, claims and
allegations pertaining thereto.

        In light of the foregoing, the Trustee respectfully requests that the Court either (i) compel
Dalia to appear at a video deposition next week in advance of the August 3rd Hearing, or (ii)
strike Dalia’s opposition to the Settlement Motion and draw a negative inference against Dalia in
accordance with Fed.R.Civ.P. 37(b)(2)(B), made applicable here by Bankruptcy Rule 7037.

                                                              Respectfully submitted,

                                                              /s/Rocco A. Cavaliere

                                                              Rocco A. Cavaliere




{Client/086201/1/02445819.DOCX;1 }
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 4 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 5 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 6 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 7 of 60
                                                                                    1

    1

    2   UNITED STATES BANKRUPTCY COURT

    3   SOUTHERN DISTRICT OF NEW YORK

    4   - - - - - - - - - - - - - - - - - - - - -x

    5

    6   In the Matter of:

    7   ORLY GENGER,                                    Main Case No.

    8              Debtor.                              19-13895-jlg

    9

   10   - - - - - - - - - - - - - - - - - - - - -x

   11

   12                    United States Bankruptcy Court

   13                    One Bowling Green

   14                    New York, New York

   15

   16                    June 15, 2021

   17                    5:11 PM

   18

   19

   20

   21   B E F O R E:

   22   HON. JAMES L. GARRITY, JR.

   23   U.S. BANKRUPTCY JUDGE

   24

   25




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 8 of 60
                                                                                    2

    1

    2   Pre-Trial Conference

    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20   Transcribed by:      Stephanie Petersen

   21   eScribers, LLC

   22   352 Seventh Avenue, Suite #604

   23   New York, NY 10001

   24   (973)406-2250

   25   operations@escribers.net




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 9 of 60
                                          ORLY GENGER                               7

    1              THE COURT:     All right.    Good afternoon.     It's Judge

    2   Garrity, and we are together in the case of Orly Genger, case

    3   number 19-13895.      This is a pre-hearing conference that I had

    4   scheduled in order to address a couple of open items -- or

    5   items that remained open prior to the hearing that will begin

    6   tomorrow on the motion filed by Sagi to dismiss the Chapter 7

    7   case.    There are three matters that I would like to address.

    8              The first is the request that was made a couple of

    9   weeks ago by Orly, through her counsel, for leave to conduct an

   10   investigation -- not investigation, but an opportunity to do an

   11   examination of Dalia and Dalia's fitness to provide testimony.

   12   I've considered what -- the requests and the responses in the

   13   letters most respectfully.        I'm denying that request and will

   14   adhere to my earlier ruling that Dalia would not be deposed in

   15   connection with this hearing and not be called as a witness in

   16   this hearing.      That is as it relates to this hearing and

   17   without prejudice as we move forward, if indeed it becomes

   18   relevant -- that her testimony might be relevant in some other

   19   hearings.    So that's the first thing.

   20              The second matter I want to address, Mr. Bowen, did

   21   you get a response to your June 13 letter to the Court as it

   22   relates to the use of the transcripts?          Have you resolved that

   23   issue?

   24              MR. BOWEN:     Your Honor, it's Mike Bowen.       We have not

   25   resolved the issue.       Mr. Dellaportas did send to me, on Sunday




                           eScribers, LLC | (973) 406-2250
                    operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 10 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 11 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 12 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 13 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 14 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 15 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 16 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 17 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 18 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                     Pg 19 of 60




                                      In Re:
                                  ORLY GENGER
                             Main Case No. 19-13895-jlg




                                      April 14, 2021




                                    eScribers, LLC
                                   (973) 406-2250
                               operations@escribers.net
                                  ***.escribers.net
           To purchase copies of this transcript, please contact us by phone or email




                              Min-U-Script® with Word Index
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 20 of 60
                                                                                    1

    1

    2   UNITED STATES BANKRUPTCY COURT

    3   SOUTHERN DISTRICT OF NEW YORK

    4   - - - - - - - - - - - - - - - - - - - - -x

    5

    6   In the Matter of:

    7   ORLY GENGER,                                    Main Case No.

    8              Debtor.                              19-13895-jlg

    9

   10   - - - - - - - - - - - - - - - - - - - - -x

   11

   12                    United States Bankruptcy Court

   13                    One Bowling Green

   14                    New York, New York

   15

   16                    April 14, 2021

   17                    5:11 PM

   18

   19

   20

   21   B E F O R E:

   22   HON. JAMES L. GARRITY, JR.

   23   U.S. BANKRUPTCY JUDGE

   24

   25




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 21 of 60
                                                                                    2

    1

    2   Discovery Conference (Doc # 378, 379, 380, 382, 383, 408)

    3   Motion to File Under Seal (Doc #407)

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20   Transcribed by:      Tamara Bentzur

   21   eScribers, LLC

   22   352 Seventh Avenue, Suite #604

   23   New York, NY 10001

   24   (973)406-2250

   25   operations@escribers.net




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 22 of 60
                                                                                    3

    1

    2   A P P E A R A N C E S (All present by video or telephone):

    3   GLENN AGRE BERGMAN & FUENTES LLP

    4           Attorneys for Orly Genger, Debtor

    5           55 Hudson Yards

    6           20th Floor

    7           New York, NY 10001

    8

    9   BY:     MICHAEL P. BOWEN, ESQ.

   10

   11

   12   HUGHES HUBBARD & REED LLP

   13           Attorneys for ADBG, LLP

   14           One Battery Park Plaza

   15           New York, NY 10004

   16

   17   BY:     CHRISTOPHER GARTMAN, ESQ.

   18

   19

   20   ERIC HERSCHMANN

   21           Attorneys for Eric Herschmann

   22           210 Lavaca Street

   23           Austin, TX 78701

   24

   25   BY:     ERIC HERSCHMANN, ESQ.




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 23 of 60
                                                                                    4

    1

    2   EMMET, MARVIN & MARTIN LLP

    3           Attorneys for Sagi Genger

    4           120 Broadway

    5           32nd Floor

    6           New York, NY 10271

    7

    8   BY:     THOMAS A. PITTA, ESQ.

    9           JOHN DELLAPORTAS, ESQ.

   10

   11

   12   TOGUT, SEGAL & SEGAL LLP

   13           Attorneys for Arie Genger

   14           One Penn Plaza

   15           New York, NY 10119

   16

   17   BY:     JARED C. BORRIELLO, ESQ.

   18

   19

   20   TARTER KRINSKY & DROGIN LLP

   21           Attorneys for Deborah J. Piazza, Chapter 7 Trustee

   22           1350 Broadway

   23           New York, NY 10018

   24

   25   BY:     ROCCO A. CAVALIERE, ESQ.




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 24 of 60
                                                                                    5

    1

    2   PACHULSKI STANG ZIEHL & JONES

    3           Attorneys for Dalia Genger

    4           780 Third Avenue

    5           34th Floor

    6           New York, NY 10017

    7

    8   BY:     PAUL J. LABOV, ESQ.

    9

   10

   11

   12   POLLOCK COHEN LLP

   13           Attorneys for Orly Genger Trust and Orly Genger 1993

   14           Trust

   15           60 Broad Street

   16           24th Floor

   17           New York , NY 10004

   18

   19   BY:     ADAM POLLOCK, ESQ.

   20           MAX RODRIGUEZ, ESQ.

   21

   22

   23

   24

   25




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 25 of 60
                                                                                    6

    1

    2   KASOWITZ BENSON TOREES LLP

    3           Attorneys for Kasowitz Benson Torres LLP

    4           1633 Broadway

    5           New York, NY 10019

    6

    7   BY:     ANDREW R. KURLAND, ESQ.

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 26 of 60
                                         ORLY GENGER                                7

    1                             P R O C E E D I N G S

    2              THE COURT:     All right, good afternoon.        It's Judge

    3   Garrity.    We're here on the Orly Genger case number 19-13895.

    4   We've got a couple of matters on the calendar this afternoon.

    5   The first that I would like to address is the request that is

    6   found at document 407, and that is the request for an order

    7   authorizing Dalia Genger to seal certain documents pursuant to

    8   the confidentiality and protective order.

    9              Mr. Labov, you submitted this, and what you're asking

   10   is that the only parties who should -- who would be entitled to

   11   access to the doctors' reports that are annexed to the

   12   submission would be just the trustee and the parties that have

   13   requested leave to depose Dalia Genger; is that right?

   14              MR. LABOV:     That's -- good evening, Your Honor.        Paul

   15   Labov, Pachulski Stang Ziehl & Jones on behalf of Dalia Genger.

   16   That is correct.      If I could just update one thing.         Those

   17   parties, Mr. Cavaliere, Mr. Bowen -- those parties -- although

   18   it wasn't Mr. Bowen, but he represents the debtor, they served

   19   third-party subpoenas on Ms. Genger.

   20              And Mr. Kurland, although he did not serve a subpoena,

   21   he did notice her deposition.         And what I understood from Your

   22   Honor's discussion last week was that in order to fill out the

   23   record -- to ensure a complete record, those parties -- the

   24   parties that created the record should see them.

   25              Just an update to Your Honor.        Mr. Cavaliere, Mr.




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 27 of 60
                                         ORLY GENGER                                 8

    1   Kurland, and Mr. Bowen all agreed pending this Court's decision

    2   that they would keep the records confidential and not share

    3   them with any party or other counsel in the case.            They did get

    4   a copy of those letters this past Monday.

    5              THE COURT:     Okay, thank you.

    6              MR. LABOV:     Yeah.

    7              THE COURT:     I'm sorry.    I didn't mean to cut you off.

    8   Was there something else you wanted to say, Mr. Labov?

    9              MR. LABOV:     No, sir.

   10              THE COURT:     All right.    Thank you.

   11              Mr. Cavaliere.

   12              MR. CAVALIERE:     Good evening, Your Honor.

   13              THE COURT:     Okay.

   14              MR. CAVALIERE:     Your Honor, I can confirm --

   15              THE COURT:     Well, let me --

   16              MR. CAVALIERE:     Yes --

   17              THE COURT:     Yes, go ahead, please.

   18              MR. CAVALIERE:     I did receive the letter.        I discussed

   19   with or communicated with Mr. Labov last Friday regarding his

   20   intention to file the motion to seal.          I expressed my view to

   21   him that I thought that the Court's view was that all the

   22   parties subject to the confidentiality order should receive a

   23   copy, and then if he thought that he should limit it only to

   24   myself and Mr. Kurland and Mr. Bowen, he'd have to make a

   25   presentation subject to paragraph 11(b) of the confidentiality




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503    Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                      Pg 28 of 60
                                          ORLY GENGER                                 9

    1   order and demonstrate to the Court that that was appropriate.

    2              With that said, I said I wasn't going to be taking a

    3   position arguing vociferously because I indicated to him that I

    4   think the other parties, to the extent they're interested in

    5   seeing those letters, are certainly capable of doing so on

    6   their own.       So that's all I really have to say, other than to

    7   the extent Your Honor has any questions about the motion to

    8   seal.    Otherwise, I'm happy to answer if I can.

    9              THE COURT:      All right, thank you.

   10              All right, Mr. Gartman, just one moment.            I see your

   11   hand is up, but just one moment.          Okay?

   12              Mr. Kurland, do you wish to be heard?

   13              MR. KURLAND:      Your Honor, thank you.      Andrew Kurland

   14   for Kasowitz Benson Torres.         Just to echo Mr. Cavaliere's

   15   comments, we did receive the few letters.            I personally

   16   received them by email.        I kept them under my eyes only,

   17   haven't shared them with anyone else.           However, as I told Mr.

   18   Labov via email, that's subject to this Court's ruling,

   19   obviously.       And we think every party to the case is entitled to

   20   see them as a standard confidential-type document pursuant to

   21   the confidentiality order that's already in the case.

   22              THE COURT:      All right, thank you.

   23              Mr. Bowen, do you wish to be heard?

   24              MR. BOWEN:      Just briefly, Your Honor.         This is Mike

   25   Bowen.    Our position is that this was already addressed at the




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 29 of 60
                                         ORLY GENGER                                10

    1   past -- the last hearing before Your Honor.           And the Court

    2   instructed Mr. Labov to file those letters -- those letters,

    3   three letters, and then to provide them under the provisions of

    4   the confidentiality order on an attorney's-eyes-only basis, to

    5   everyone, because we're all in this proceeding.

    6              So I thought that the effort to add conditions by Mr.

    7   Labov was inappropriate and improper, and that's our current

    8   position.    We accepted the letter under -- or the three

    9   letters, I should say, under reservation of rights, so I have

   10   reviewed them.      And I only feel more strongly that everybody

   11   should see these letters, and that they're directly relevant to

   12   things that need to be addressed on the motion to dismiss.

   13              THE COURT:     All right, thank you.

   14              Mr. Gartman, sorry to keep you waiting.

   15              MR. GARTMAN:     No problem at all, Your Honor.        Chris

   16   Gartman from Hughes Hubbard on behalf of ADBG, LLC.             Your

   17   Honor, we are one of the parties that has not been provided

   18   access to these doctors' notes.         We expressed our objection to

   19   Mr. Labov on Friday, and we let him know that for the same

   20   reasons that Mr. Bowen states, we believe that Your Honor made

   21   clear on Friday that -- and I'm quoting from you directly, I

   22   could use them, and the other parties could use them subject to

   23   the limitations.

   24              We don't think there's any restriction placed on who

   25   could receive them, and we believe that all parties of record




                           eScribers, LLC | (973) 406-2250
                    operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503    Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 30 of 60
                                          ORLY GENGER                                 11

    1   should have access to the letters.          We've proceeded in this

    2   case where there have been a few parties who have served these

    3   subpoenas or deposition notices.          But all parties have had the

    4   opportunity to attend a deposition, and to the extent they have

    5   questions, to question the witnesses at that deposition, as

    6   well as to receive the document productions, whether they

    7   served a subpoena or not.

    8              And I don't think that my client or anybody else

    9   should have to serve a fourth or fifth or sixth subpoena, when

   10   there's already three that are out there, and we have all these

   11   other parties in the case.         And so it also just creates

   12   difficulties in terms of a hearing like this where an issue

   13   would be addressed in terms of gating item like whether she

   14   could be deposed in the first place.           And because if you're

   15   talking about the content of those letters, what are we doing

   16   to do?    Are we going to knock some people off the call for a

   17   short period of time, which doesn't make any sense,

   18   particularly where I think all parties have been taking

   19   positions as to the relevance of Dalia Genger's deposition.              We

   20   certainly feel that she's probably the most critical witness in

   21   this case.       And so we -- we feel that if this is something

   22   that's being proposed as a reason why that access to that

   23   discovery should be restricted, that all parties should have

   24   equal access to it, and obviously, there are appropriate

   25   protections under the confidentiality order that deal with this




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 31 of 60
                                         ORLY GENGER                                   12

    1   as I believe Your Honor recognized at the last hearing.             So

    2   that's all I have, unless you have any questions.

    3              THE COURT:     No, I do not.    Thank you very much.

    4              Mr. Herschmann.

    5              MR. HERSCHMANN:      Thank you, Your Honor.      Eric

    6   Herschmann.      I just echo and agree with Mr. Gartman and prior

    7   counsel on this.      I've never seen a circumstance in which we

    8   would all have to subpoena the same witness once they've

    9   already been subpoenaed for a deposition, and we haven't

   10   operated that way in this case at all.          So I think we're

   11   entitled to see the letters.        I don't know what's in them, but

   12   I know previously the issue dealt with COVID.           I presume that

   13   issue's been resolved.       So I don't know what these are about,

   14   but at the very least, I think we're entitled to see them.               And

   15   at least, I believe they'll be relevant overall under any

   16   circumstances.      Thank you, Your Honor.

   17              THE COURT:     All right.    Thank you.

   18              Mr. Labov.

   19              MR. LABOV:     Your Honor, can you hear me?       My hand is

   20   raised, but I don't know if I have to hit something else.

   21              THE COURT:     No, no, I can hear you.      I saw your hand

   22   was raised --

   23              MR. LABOV:     Okay.

   24              THE COURT:     -- which is why I called on you.

   25              MR. LABOV:     Yeah, okay, thanks.     Yeah, I just wasn't




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503    Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                      Pg 32 of 60
                                          ORLY GENGER                                13

    1   sure if you had to hit another button.

    2              THE COURT:      Sure, no problem.

    3              MR. LABOV:      Your Honor, just so we're clear, on Friday

    4   I'm pretty sure the Court didn't order anything.             The Court

    5   asked whether my client would be comfortable sharing the

    6   letters.    After having a discussion about filling out the

    7   record ensuring the full record in this matter, in order to

    8   protect this incredibly private health information, we made a

    9   compromise and said this is how we'd like to do it.              People

   10   disagreed.       And that's why we filed the motion.         I don't

   11   think -- I don't think Mr. Bowen's correct that we were ordered

   12   to do anything.

   13              I find it somewhat curious that Mr. Herschmann is

   14   saying that he needs to see the letters.           If Your Honor may

   15   recall, we, Dalia Genger, isn't allowed to see Mr. Herschmann's

   16   prenuptial agreement because he got some sort of extended, very

   17   closed-off discovery with respect to that.            So now he wants to

   18   see private medical information from a nonmovant third party.

   19   So I don't understand that position, but I'll take it even a

   20   step further.

   21              The parties that didn't seek to take her deposition,

   22   right, they want to see a third-party nonmovant's private

   23   medical information.        Makes no sense.     To sort of drive this

   24   point home, it's not as if the deposition would go forward

   25   where my client's medical issues are an issue on Sagi Genger's




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                     Pg 33 of 60
                                         ORLY GENGER                                 14

    1   motion to dismiss, so it's not as if they could start asking

    2   questions about her medical issues.

    3              This is Sagi Genger's motion to dismiss because of

    4   Orly Genger's bad acts, not a motion about my client's medical

    5   issues.    So while it's true, if Your Honor were to say she's

    6   got to sit for a deposition, then Mr. Gartman and Mr.

    7   Herschmann, I suppose they could all ask -- they could all show

    8   up and ask questions.       That's true, subject to certain

    9   provisions.      That's true.    But it's not as if they need to

   10   understand her medical issues when she's a nonmovant to this.

   11              We think the record is very full, Your Honor.            And

   12   with respect to relevancy, we won't get into that, but

   13   obviously Your Honor has that in front of him.              So this was a

   14   request by the Court to fill out the record.           I think we've

   15   done that.

   16              THE COURT:     Look, Dalia Genger is central to what's

   17   gone on in this case, just as Orly and Sagi are.             And yes, if

   18   it's a third-party subpoena, and early on I said I would look

   19   at -- when this issue first came up, that I would consider the

   20   matter in camera.      I don't feel comfortable ruling on these

   21   matters without all of the parties to the litigation getting

   22   access to those letters, subject to the confidentiality

   23   agreement that has been that has been entered into among the

   24   parties to this litigation.        And yes, I asked you whether --

   25              MR. LABOV:     Judge, and they --




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503    Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                      Pg 34 of 60
                                          ORLY GENGER                                 15

    1              THE COURT:      Excuse me.    Excuse me.

    2              MR. LABOV:      Sorry.   Sorry.

    3              THE COURT:      That's all right.     That's okay.      And I

    4   asked you whether Ms. Genger, Dalia Genger was comfortable with

    5   that in order to give you the opportunity to do what you've

    6   done.    To consult with her and to come back, and you've made

    7   the motion.       And I am most respectfully denying it.

    8              And what I am saying is I think that those -- that

    9   those reports should be available to the parties to this

   10   litigation, again, subject to the confidentiality agreement.

   11   Whatever was the determinations were made with respect to Mr.

   12   Herschmann's prenuptial agreement, they were made.               I didn't

   13   make them.       And they are what they are.      And most respectfully,

   14   I don't really see how one has anything to do with the other,

   15   so that's what I'm directing you do, and that that should be

   16   done.

   17              Now, as to the deposition, Mr. Labov, did you

   18   understand that?

   19              MR. LABOV:      I understand, Your Honor.         You'd like me

   20   to make them available, and I will per Your Honor's direction.

   21              THE COURT:      Thank you.

   22              MR. LABOV:      Subject to the confidentiality order.

   23              THE COURT:      Yes.   Yes, of course.

   24              Okay, now as to the deposition, and I can make this

   25   ruling -- I'm comfortable in making this ruling, not -- knowing




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503    Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                      Pg 35 of 60
                                          ORLY GENGER                                 16

    1   that there are folks in here who have not seen the letters.

    2   All right?       I am not going to direct that Dalia Genger sit for

    3   a deposition, and I'm not going to do so because I am concerned

    4   that, based upon the reports from her doctor, that it could

    5   adversely impact her health and her wellbeing.               You'll all see

    6   the letters.       I'm not going to -- most respectfully, I'm not

    7   going to discuss it further.         That's my determination as it

    8   relates to those -- to that matter.           All right?

    9              MR. LABOV:      Thank you, Your Honor.      I will make --

   10   this is Paul Labov.        I will make the letters available in very

   11   short order, this evening for sure.           And I suppose it's subject

   12   to the confidentiality order, so there's not much more that

   13   needs to be said about that -- just very sensitive stuff, as

   14   you know.

   15              THE COURT:      Yes.

   16              MR. LABOV:      And if it's -- if it's okay, Your Honor, I

   17   have a prior appointment.         May I be excused, or is there

   18   something else relating to Dalia that needs to be discussed?

   19              THE COURT:      Well, is it -- just one second.

   20              Does anyone wish to be heard before Mr. -- I have no

   21   problem with you being excused.           Let me just see if anyone

   22   wants to be heard before Mr. Labov --

   23              MR. HERSCHMANN:        Your Honor -- it's Eric Herschmann,

   24   Your Honor.       If I could be heard?

   25              THE COURT:      Yes.   Yeah.




                           eScribers, LLC | (973) 406-2250
                    operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 36 of 60
                                         ORLY GENGER                                17

    1              MR. HERSCHMANN:      All right, so Your Honor, I haven't

    2   seen the letters, so I don't know what they say.

    3              THE COURT:     Okay.

    4              MR. HERSCHMANN:      But I would at least like to have a

    5   chance to review the letters and see if there's something that

    6   we could put forth to the Court, at least address it.             I mean,

    7   it's just impossible for me in a blind, to sit here.             I

    8   understand Your Honor's ruling, but at the very least, I'd like

    9   to see what the letters say.        And to have their -- just reserve

   10   the right to potentially come back to the Court and raise

   11   issues that Your Honor may or may not have considered, because

   12   at least some of us are completely in the dark.             So I just

   13   respectfully ask for that opportunity.

   14              THE COURT:     All right, sure.     But as I told you -- and

   15   Mr. Bowen, I see you have your hand up.

   16              MR. BOWEN:     Yes, Your Honor.

   17              THE COURT:     Yes, did you want to say something to add

   18   to what Mr. Herschmann said or what?

   19              MR. BOWEN:     Yes, Your Honor.     It's Mike Bowen.      It's

   20   sort of -- I'm not exactly sure what Mr. Herschmann was asking

   21   for, but in my view, the content of the letters is relevant to

   22   some of the issues that will be addressed at the hearing for

   23   the motion to dismiss.       And if those are under seal, and Ms.

   24   Genger, Dalia Genger is not going to give a deposition or give

   25   any testimony at all, I have two questions.




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 37 of 60
                                         ORLY GENGER                                   18

    1              One is are we going to have the option to at least see

    2   if she's available to testify at the time of the hearing?                And

    3   then the second question is I would need an opportunity to ask

    4   the Court to unseal the letters for purposes of the hearing, or

    5   I guess have some kind of mechanism in place to have a closed

    6   session where we can refer to the letters as part of the

    7   hearing.    And I think Mr. Labov should be present when we're

    8   discussing that.      So whether that's addressed today or some

    9   other date, I just wanted to state those two ideas.

   10              THE COURT:     All right.    Well, and that's fine.       I

   11   don't think there's any reason why we couldn't address those

   12   issues, if it becomes relevant, at a later date, as to the

   13   content of the letters if they are, in fact -- if it is, in

   14   fact, relevant to the matters before the Court in the motion to

   15   dismiss or the motion to sell.         And I am very confident that

   16   we'd be able to work through something.          Given the fact that

   17   the hearing would be over the phone or via Zoom, we shouldn't

   18   have any problem being able to do that.

   19              But as to going back and re-examining it, Mr.

   20   Herschmann, I don't need that, most respectfully.            And I

   21   understand you're in the dark, but my determination is final.

   22              MR. HERSCHMANN:      Your Honor.

   23              THE COURT:     Yes, Mr. Herschmann.

   24              MR. HERSCHMANN:      Your Honor, it's Eric Herschmann, and

   25   I understand that.       I just -- I just respectfully, even though




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 38 of 60
                                         ORLY GENGER                                19

    1   Your Honor's made a determination, but there's nothing in the

    2   record from us to even anticipate how this could be addressed.

    3   So I understand how Your Honor's made a ruling, but I would

    4   like if necessary or I believe it's appropriate to supplement

    5   the record, obviously keeping the confidentiality.

    6              THE COURT:     Sure, that's fine.

    7              MR. HERSCHMANN:      That's all I ask for.

    8              THE COURT:     That's fine.

    9              MR. HERSCHMANN:      Okay, thank you, Your Honor.

   10              THE COURT:     Thank you.

   11              Mr. Cavaliere, something before Mr. Labov exits?

   12              MR. CAVALIERE:     Yes, Your Honor.      I respect the

   13   Court's decision, obviously, and I was -- I just raised my hand

   14   to ask if it's possible for -- and I'd have to even consult

   15   with I think some of the other moving parties, the other

   16   parties here, Mr. Bowen and Mr. Kurland and possibly others as

   17   to whether this would be an adequate substitute.

   18              But in light of Your Honor's decision because of the

   19   health concerns that you have for Ms. Genger and not sitting

   20   for a deposition, whether in person or by video, as to whether

   21   as an alternative, which I don't think is as good as a

   22   deposition, but to the extent that we could perhaps, if it's a

   23   good idea, to send some written deposition questions or

   24   admissions.      It'd be something that I'd like to give some more

   25   thought to, but as an alternative, which would not impose --




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 39 of 60
                                         ORLY GENGER                                20

    1   hopefully would not impose any burden on Ms. Genger and her

    2   health, because she'd be able to provide those answers at her

    3   own convenience with the assistance of counsel.             Again, not as

    4   good as a deposition, but perhaps something -- I just wanted to

    5   raise it with the Court if it's something that we could

    6   potentially consider doing and serving in a relatively short

    7   order upon Mr. Labov, if it's something that collectively we

    8   think makes sense to do.

    9              THE COURT:     That's fine.    Why don't you take it up

   10   among the counsel, and if you think you want to do something

   11   like that, reach out to Mr. Labov and work it out.             And if you

   12   can't work it out, come back to me.

   13              MR. CAVALIERE:     Thank you, Your Honor.

   14              THE COURT:     Mr. Labov, you don't have any problem with

   15   that?

   16              MR. LABOV:     Your Honor, I have no problem with anybody

   17   coming back (audio interference), sorry, making the suggestion.

   18   But Your Honor obviously read the submissions with respect to

   19   relevancy and with respect to the medical issues on what all of

   20   this is creating.      And so, of course -- of course, if Mr.

   21   Cavaliere comes back and we can agree to some reasonable

   22   agreement, then I obviously will take that back to the client,

   23   of course.

   24              THE COURT:     Look, I think she has an ability -- not an

   25   ability -- that now I've determined, given her medical state,




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 40 of 60
                                         ORLY GENGER                                21

    1   she's not able, I'm not going to ask her or direct that she be

    2   deposed.

    3              MR. LABOV:     Right.

    4              THE COURT:     But that's not based on relevancy, and I

    5   am -- and I understand, based upon what we had talked about as

    6   it related to the trust and other matters that Mr. Bowen had

    7   articulated at the last hearing or the hearing before, I could

    8   see that there might be some relevant information that Ms.

    9   Genger might have.       I'm not going to subject her to that

   10   because of her medical condition.         So --

   11              MR. LABOV:     Understood, yeah.     So --

   12              THE COURT:     Okay.

   13              MR. LABOV:     -- we'll take -- we'll take anything that

   14   Mr. Cavaliere says.       I'm happy to create an audience for it.

   15              THE COURT:     That's fine.    Thank you very much.

   16              Okay, the other matter that we have on the -- on our

   17   calendar is the letter, with respect to the letter that Mr.

   18   Dellaportas filed and served, I guess, over ECF.            It's document

   19   number 408.      Mr. Dellaportas, are you there?

   20              MR. DELLAPORTAS:       Yes, Your Honor.

   21              THE COURT:     All right, and now, Mr. Herschmann, you've

   22   seen the letter?

   23              MR. HERSCHMANN:      Your Honor, I have seen the letter.

   24   And if Your Honor wants -- I'm sorry, it's Eric Herschmann.             I

   25   could address the letter.




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 41 of 60
                                         ORLY GENGER                                22

    1              THE COURT:     Well, I'm going to ask Mr. Dellaportas to

    2   address it first, and then ask you to do it.           Thank you.

    3              MR. HERSCHMANN:      Okay, Your Honor.     Thank you.

    4              THE COURT:     Unless you've worked it out.

    5              MR. HERSCHMANN:      No, Your Honor, we haven't worked --

    6              THE COURT:     Okay.    All right, Mr. Dellaportas.

    7              MR. DELLAPORTAS:       So Your Honor, what we had initially

    8   requested, we subpoenaed or document requested early in the

    9   case a copy of the trust agreement.          We received it.     It had

   10   redacted out the name of the trustee.          And at the --

   11              THE COURT:     And Mr. Dellaportas -- Mr. Della -- I'm

   12   sorry, Mr. Dellaportas, I apologize for interrupting you.             Is

   13   that the only information that was blacked out?

   14              MR. DELLAPORTAS:       There may have been some other

   15   information on that -- on that, but there's nothing else I

   16   think that was of significance to us.          I would have -- I'm

   17   sorry, Your Honor.       I'd have to go back and check.        But

   18   definitely, it was -- it was largely unredacted.

   19              THE COURT:     Okay.

   20              MR. DELLAPORTAS:       Other than the -- other than the

   21   name of the trustee.       And so we had asked for an unredacted

   22   copy.    Our proposed order had it that would tell us who the

   23   trustee was when the significant events, the dealings with the

   24   estate happened.      And we did ask Mr. McManus (ph.), who was put

   25   in place by that trustee, and he indicated he knew who the




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                     Pg 42 of 60
                                         ORLY GENGER                                 23

    1   trustee was.      And when we gave the name of this person, which I

    2   won't mention because it's confidential, he said he had never

    3   heard that name before.

    4              So now we're told admittedly, it feels about nine

    5   months later, that that person is the trustee.              And we just

    6   would like to know what happens, there's a number of

    7   possibilities, but we believe that the most -- the most

    8   straightforward way to figure out what's going on is to just

    9   have the trust agreement with the -- with the name unredacted,

   10   which will tell us who was the trustee as of the time of the

   11   events in question.       And then obviously, if there's been some

   12   change in the trustee, that's something that may be very

   13   relevant to us.      We just -- we don't know, and I don't want to

   14   speculate.

   15              THE COURT:     All right, Mr. Herschmann.

   16              MR. HERSCHMANN:      Thank you, Your Honor.       Your Honor,

   17   I've gone back and looked at several things.           Your Honor

   18   ordered me to do something, and I did it, no questions asked.

   19   On March 5th and on April 2nd, Mr. Dellaportas wanted the

   20   identity of the trustee.

   21              His representations to you about what Bill McManus

   22   testified to are not accurate.         Mr. McManus never testified he

   23   knew the identity of the trustee.         I'm not going to get into

   24   how Mr. Dellaportas asked questions, but I made a suggestion to

   25   him that whether I was the trustee, or the debtor was or any




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                     Pg 43 of 60
                                         ORLY GENGER                                 24

    1   other creditor.      And Mr. Dellaportas's statement was I am not

    2   going to play twenty questions with a witness.

    3              He asked it.     There's only been one trustee.         It's

    4   never been anyone else.       He didn't ask the questions

    5   appropriately, and had he done so, he may have gotten answers.

    6              But Your Honor, I think what's more troubling to me,

    7   and it's just become a pattern, and I'm not certain how to stop

    8   it any longer, it's the constant letter writing to the Court.

    9   It's quasi representing what's happened or what has not

   10   happened on behalf of the trustee.         And Your Honor, it's

   11   just -- I don't even know any longer where to go with it,

   12   because it literally sounds like he's saying I directly

   13   violated your order.

   14              And last week, Your Honor, when he put in his

   15   seventeen-page letter, the very beginning of that letter was an

   16   allegation that dealt with me, in which he said Briar &

   17   Cummings (ph.), a prior trustee's counsel from Texas, told one

   18   of the Texas lawyers in the creditor group that I directly

   19   solicited a meeting with the trustee, we met outside the

   20   presence of counsel at an art gallery for a few hours to

   21   discuss a possible deal, and that the trustee returned from

   22   that meeting with a settlement agreement in principle.

   23              During a meet and confer, Mr. Dellaportas accused me

   24   in front of Mr. Cavaliere, the prior trustee's counsel, and

   25   others, of lying to the trustee in doing this.              Those exact




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                     Pg 44 of 60
                                         ORLY GENGER                                  25

    1   allegations that were just presented to this Court in writing

    2   by Mr. Dellaportas as his basis for an allegation, Mr. Cummings

    3   has written, "Each of those claims is untrue, as is any

    4   assertion that I made them to anyone."

    5              And at a certain point, Your Honor, it has to stop.

    6   There is no way in the world that Your Honor directed me to do

    7   something, and I didn't comply with that order.              I identified

    8   for them specifically who the trustee is.           It's been the same

    9   trustee from the beginning.

   10              Mr. Dellaportas' representation to the testimony is

   11   not correct.      He never asked the questions.       He didn't get the

   12   enunciation right, he didn't understand what he was doing, and

   13   he didn't want to do it.        There's only been one trustee.        I've

   14   identified the person.       I gave it to them in writing.         I marked

   15   it confidential, and enough of the allegations.              It really has

   16   to stop already.      Thank you, Your Honor.

   17              THE COURT:     All right.

   18              Mr. Dellaportas.

   19              MR. DELLAPORTAS:      So Your Honor, yes, I didn't attach

   20   the deposition transcript because this has been marked

   21   confidential, and I'm trying to limit sealing.              But I not only

   22   asked Mr. McManus whether he had heard of this person, I

   23   spelled her name out for the witness.          And I'm happy to show

   24   that transcript, and Your Honor can decide who's being truthful

   25   and who's being untruthful to the Court right now about this




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 45 of 60
                                         ORLY GENGER                                26

    1   deposition.

    2              MR. HERSCHMANN:      I'll read it.    Your Honor, I could

    3   read the transcript if you want.

    4              THE COURT:     No.   No, no, no, no, I'm sorry.       I'm

    5   sorry, I apologize.       Please.   I don't want to have any things

    6   read to me about this.       This is really -- what I don't

    7   understand, Mr. Herschmann, is what the problem is with just

    8   producing the document with the name of the trustee unredacted.

    9   Why is that a problem?

   10              MR. HERSCHMANN:      Your Honor, honestly, I don't know

   11   why Mr. Dellaportas didn't call me.          It wouldn't be a problem,

   12   except I'm sitting in Texas in my apartment, and I didn't have

   13   the ability of taking the document -- I don't have the document

   14   with me at the moment, and unredact it.          So I did it in the way

   15   that I thought would be the simplest.          I never dreamed that Mr.

   16   Dellaportas would actually question my representation as an

   17   officer of the court at your direction as to who's the trustee.

   18   If he wants that, it's fine.        It's just at a certain point the

   19   constant allegations that everything is a scam, and everything

   20   is a lie just has to stop.

   21              THE COURT:     All right --

   22              MR. HERSCHMANN:      Because it can't continue on a

   23   regular basis.      I've never seen anything like it.

   24              THE COURT:     All right, so --

   25              MR. HERSCHMANN:      He thinks I made up who the trustee




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 46 of 60
                                         ORLY GENGER                                27

    1   or I changed it, it's crazy.

    2              THE COURT:     All right, Mr. Herschmann, what I'm going

    3   to ask you to do then, most respectfully, is if you can maybe

    4   work -- I don't know if you're able to work with somebody else

    5   who can get access to the documents in a Word form and unredact

    6   it, however you want to do that.         Just please provide that to

    7   Mr. Dellaportas.      It'd be the document that you already

    8   produced with one change, and the one change would be to

    9   unredact the name of the trustee.

   10              MR. HERSCHMANN:      Okay, Your Honor.

   11              THE COURT:     If there are other -- if there are other

   12   things that were redacted, we're not talking about any of that.

   13   We're only talking about the name of the trustee.            All right?

   14              Mr. Dellaportas, you understand that?

   15              MR. DELLAPORTAS:      Yes, that's perfectly acceptable,

   16   Your Honor.

   17              THE COURT:     Fine, then that's what we'll do.

   18              So Mr. Herschmann, thank you very much.

   19              MR. HERSCHMANN:      Thank you, Your Honor.

   20              THE COURT:     All right, so I think that then covers all

   21   of the matters that we had on the calendar for today.             We

   22   are -- so we're done.       Thank you all very much.

   23              Oh wait, Mr. Kurland, I'm sorry.         I see you have your

   24   hand up.

   25              MR. KURLAND:     Yes, Your Honor.     Thank you, just very




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 47 of 60
                                         ORLY GENGER                                28

    1   briefly.    Andrew Kurland once again, for the record.           Your

    2   Honor, last time we were together, we discussed the Rule 9011

    3   motion.    And I just wanted to clarify something for the record.

    4   I didn't have the motion that we had served with respect to the

    5   pro bono issues that we had discussed last time in front of me,

    6   and I apologize for that.

    7              I have had a chance to review that motion from six

    8   months or so ago.      And it is narrower than I remembered it, and

    9   I represented -- Mr. Dellaportas represented it as being quite

   10   broad.    And that's why he filed a lengthy seventeen-page letter

   11   the other day.      And fully recognizing your court -- Your Honor,

   12   rather, already addressed this issue and determined that you

   13   would not be addressing the Rule 9011 motion that we'd like to

   14   bring before the motion to dismiss, I just wanted to say that

   15   we do intend to serve -- file and serve the same exact one,

   16   because it is far narrower than I had remembered, and as Mr.

   17   Dellaportas represented it to be.         Recognizing, however, that

   18   the Court will not have a chance to address it until after the

   19   motion to dismiss is handled.

   20              THE COURT:     All right.    Thank you.

   21              MR. KURLAND:     Thank you very much.

   22              THE COURT:     Very good.    All right, Mr. Cavaliere.

   23              MR. CAVALIERE:     Your Honor, Rocco Cavaliere for the

   24   record.    I was just curious, Your Honor, if you had a sense of

   25   timing on the decision on the constructive trust action I think




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 48 of 60
                                         ORLY GENGER                                 29

    1   you had mentioned last week.        You certainly didn't commit to a

    2   decision this week, nor do you have to.          But I was curious

    3   whether there's another date in mind where you think we might

    4   see that decision.

    5              THE COURT:     Mr. Cavaliere, I'm working on it.        I hope

    6   to get it done shortly.       But there are other things going on,

    7   and trust me, there's no one who wants to get it done more than

    8   I do.    None, even understanding how anxious all of you are.           No

    9   one wants to get it done more than me.

   10              MR. CAVALIERE:     Understood, Your Honor.

   11              THE COURT:     So that's fine.

   12              Mr. Pitta.

   13              MR. PITTA:     Yes, Your Honor, just briefly.        I believe

   14   that the parties have all consulted, and we have dates that are

   15   available for us for the hearings on the motion to dismiss and

   16   the trustee's financing and sale motion.          Would you like us to

   17   address that with Ms. Rodriguez and get the order

   18   (indiscernible) in?

   19              THE COURT:     Yes, please.    Yeah, that would be fine, if

   20   you'd just do that with her, we'll take care of it.

   21              MR. PITTA:     We will, Your Honor.      And to the extent

   22   the parties have motions in limine or anything along those

   23   lines with respect to that, should we include dates --

   24              THE COURT:     Yes.   Yes.

   25              MR. PITTA:     -- for filing those in the scheduling




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32    Main Document
                                     Pg 49 of 60
                                         ORLY GENGER                                 30

    1   order?

    2              THE COURT:     Please.

    3              MR. PITTA:     Okay, will do.

    4              THE COURT:     Yes, thank you very much.         Yeah, thank

    5   you.

    6              MR. PITTA:     Thank you, Your Honor.

    7              THE COURT:     All right, Mr. Cavaliere, you still have

    8   your hand up or is --

    9              MR. CAVALIERE:     Yeah, no, I'm sorry.      I meant to take

   10   it down.    I do -- I do just want to apologize, again, as I

   11   said, I'm not trying to put pressure on you for that decision.

   12              THE COURT:     No, no, Mr. Cavaliere, Mr. Cavaliere,

   13   there's no need to apologize.

   14              MR. CAVALIERE:     Okay, thank you.      Thank you.

   15              THE COURT:     It's not a problem.

   16              Thank you all very much.       All right.

   17              UNIDENTIFIED SPEAKER:       Thank you, Your Honor.

   18              THE COURT:     Is there something else, Mr. Cavaliere?

   19              MR. CAVALIERE:     No.

   20              THE COURT:     All right, good.     Thanks a lot.

   21              UNIDENTIFIED SPEAKER:       Thank you, Your Honor.

   22              THE COURT:     Bye-bye.

   23          (Whereupon these proceedings were concluded at 5:45 PM)

   24

   25




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 50 of 60
                                                                                    31

    1

    2                                    I N D E X

    3   RULINGS:                                                    PAGE   LINE

    4   Dalia Genger motion to file under seal                      16      18

    5   is denied.

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25




                          eScribers, LLC | (973) 406-2250
                   operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 51 of 60
                                                                                    32

    1

    2                          C E R T I F I C A T I O N

    3

    4   I, Tamara Bentzur, certify that the foregoing transcript is a

    5   true and accurate record of the proceedings.

    6

    7

    8

    9   ________________________________________

   10   Tamara Bentzur (CET-824)

   11   AAERT Certified Electronic Transcriber

   12

   13   eScribers

   14   352 Seventh Ave., Suite #604

   15   New York, NY 10001

   16

   17   Date:    April 21, 2021

   18

   19

   20

   21

   22

   23

   24

   25




                           eScribers, LLC | (973) 406-2250
                    operations@escribers.net | www.escribers.net
19-13895-jlg      Doc 503       Filed 07/22/21 Entered 07/22/21 21:49:32                  Main Document
   ORLY GENGER                              Pg 52 of 60
   Main Case No. 19-13895-jlg                                                                                April 14, 2021

                              22:9;23:9;24:22      authorizing (1)                                  client (3)
              A            ahead (1)                 7:7                             C                 11:8;13:5;20:22
                              8:17                 available (5)                                    client's (2)
    ability (3)            allegation (2)            15:9,20;16:10;        calendar (3)                13:25;14:4
       20:24,25;26:13         24:16;25:2             18:2;29:15               7:4;21:17;27:21       closed (1)
    able (5)               allegations (3)         Avenue (1)              call (2)                    18:5
       18:16,18;20:2;         25:1,15;26:19          5:4                      11:16;26:11           closed-off (1)
       21:1;27:4           allowed (1)                                     called (1)                  13:17
    acceptable (1)            13:15                           B               12:24                 COHEN (1)
       27:15               along (1)                                       came (1)                    5:12
    accepted (1)              29:22                 back (9)                  14:19                 collectively (1)
       10:8                alternative (2)             15:6;17:10;18:19;   camera (1)                  20:7
    access (7)                19:21,25                 20:12,17,21,22;        14:20                 comfortable (4)
       7:11;10:18;11:1,    although (2)                22:17;23:17         can (10)                    13:5;14:20;15:4,
       22,24;14:22;27:5       7:17,20               bad (1)                   8:14;9:8;12:19,21;       25
    accurate (1)           among (2)                   14:4                   15:24;18:6;20:21;     coming (1)
       23:22                  14:23;20:10           based (3)                 25:24;27:3,5             20:17
    accused (1)            ANDREW (3)                  16:4;21:4,5         capable (1)              comments (1)
       24:23                  6:7;9:13;28:1         basis (3)                 9:5                      9:15
    action (1)             annexed (1)                 10:4;25:2;26:23     care (1)                 commit (1)
       28:25                  7:11                  become (1)                29:20                    29:1
    acts (1)               anticipate (1)              24:7                case (10)                communicated (1)
       14:4                   19:2                  becomes (1)               7:3;8:3;9:19,21;         8:19
    actually (1)           anxious (1)                 18:12                  11:2,11,21;12:10;     complete (1)
       26:16                  29:8                  beginning (2)             14:17;22:9               7:23
    ADAM (1)               apartment (1)               24:15;25:9          CAVALIERE (26)           completely (1)
       5:19                   26:12                 behalf (3)                4:25;7:17,25;8:11,       17:12
    ADBG (1)               apologize (5)               7:15;10:16;24:10       12,14,16,18;19:11,    comply (1)
       10:16                  22:12;26:5;28:6;      BENSON (3)                12;20:13,21;21:14;       25:7
    add (2)                   30:10,13                 6:2,3;9:14             24:24;28:22,23,23;    compromise (1)
       10:6;17:17          appointment (1)          Bill (1)                  29:5,10;30:7,9,12,       13:9
    address (7)               16:17                    23:21                  12,14,18,19           concerned (1)
       7:5;17:6;18:11;     appropriate (3)          blacked (1)            Cavaliere's (1)             16:3
       21:25;22:2;28:18;      9:1;11:24;19:4           22:13                  9:14                  concerns (1)
       29:17               appropriately (1)        blind (1)              central (1)                 19:19
    addressed (7)             24:5                     17:7                   14:16                 concluded (1)
       9:25;10:12;11:13;   April (1)                bono (1)               certain (5)                 30:23
       17:22;18:8;19:2;       23:19                    28:5                   7:7;14:8;24:7;        condition (1)
       28:12               arguing (1)              BORRIELLO (1)             25:5;26:18               21:10
    addressing (1)            9:3                      4:17                certainly (3)            conditions (1)
       28:13               Arie (1)                 Bowen (14)                9:5;11:20;29:1           10:6
    adequate (1)              4:13                     7:17,18;8:1,24;     chance (3)               confer (1)
       19:17               art (1)                     9:23,24,25;10:20;      17:5;28:7,18             24:23
    admissions (1)            24:20                    17:15,16,19,19;     change (3)               confident (1)
       19:24               articulated (1)             19:16;21:6             23:12;27:8,8             18:15
    admittedly (1)            21:7                  Bowen's (1)            changed (1)              confidential (4)
       23:4                assertion (1)               13:11                  27:1                     8:2;23:2;25:15,21
    adversely (1)             25:4                  Briar (1)              Chapter (1)              confidentiality (11)
       16:5                assistance (1)              24:16                  4:21                     7:8;8:22,25;9:21;
    afternoon (2)             20:3                  briefly (3)            check (1)                   10:4;11:25;14:22;
       7:2,4               attach (1)                  9:24;28:1;29:13        22:17                    15:10,22;16:12;19:5
    again (4)                 25:19                 bring (1)              Chris (1)                confidential-type (1)
       15:10;20:3;28:1;    attend (1)                  28:14                  10:15                    9:20
       30:10                  11:4                  Broad (2)              circumstance (1)         confirm (1)
    ago (1)                Attorneys (6)               5:15;28:10             12:7                     8:14
       28:8                   4:3,13,21;5:3,13;     Broadway (3)           circumstances (1)        consider (2)
    agree (2)                 6:3                      4:4,22;6:4             12:16                    14:19;20:6
       12:6;20:21          attorney's-eyes-only (1) burden (1)             claims (1)               considered (1)
    agreed (1)                10:4                     20:1                   25:3                     17:11
       8:1                 audience (1)             button (1)             clarify (1)              constant (2)
    agreement (8)             21:14                    13:1                   28:3                     24:8;26:19
       13:16;14:23;        audio (1)                Bye-bye (1)            clear (2)                constructive (1)
       15:10,12;20:22;        20:17                    30:22                  10:21;13:3               28:25

   Min-U-Script®                             eScribers, LLC | (973) 406-2250                       (1) ability - constructive
                                       operations@escribers.net | www.escribers.net
19-13895-jlg      Doc 503        Filed 07/22/21 Entered 07/22/21 21:49:32                      Main Document
   ORLY GENGER                               Pg 53 of 60
   Main Case No. 19-13895-jlg                                                                                      April 14, 2021

    consult (2)                 8:7                     determined (2)             10:6                    9:16
      15:6;19:14                                          20:25;28:12           else (9)
    consulted (1)                       D               difficulties (1)           8:8;9:17;11:8;                    F
      29:14                                               11:12                    12:20;16:18;22:15;
    content (3)               Dalia (11)                direct (2)                 24:4;27:4;30:18       fact (3)
      11:15;17:21;18:13         5:3;7:7,13,15;            16:2;21:1             email (2)                   18:13,14,16
    continue (1)                11:19;13:15;14:16;      directed (1)               9:16,18               far (1)
      26:22                     15:4;16:2,18;17:24        25:6                  EMMET (1)                   28:16
    convenience (1)           dark (2)                  directing (1)              4:2                   feel (4)
      20:3                      17:12;18:21               15:15                 enough (1)                  10:10;11:20,21;
    copy (4)                  date (3)                  direction (2)              25:15                    14:20
      8:4,23;22:9,22            18:9,12;29:3              15:20;26:17           ensure (1)               feels (1)
    counsel (7)               dates (2)                 directly (4)               7:23                     23:4
      8:3;12:7;20:3,10;         29:14,23                  10:11,21;24:12,18     ensuring (1)             few (3)
      24:17,20,24             day (1)                   disagreed (1)              13:7                     9:15;11:2;24:20
    couple (1)                  28:11                     13:10                 entered (1)              fifth (1)
      7:4                     deal (2)                  discovery (2)              14:23                    11:9
    course (4)                  11:25;24:21               11:23;13:17           entitled (4)             figure (1)
      15:23;20:20,20,23       dealings (1)              discuss (2)                7:10;9:19;12:11,         23:8
    COURT (82)                  22:23                     16:7;24:21               14                    file (3)
      7:2;8:5,7,10,13,15,     dealt (2)                 discussed (4)           enunciation (1)             8:20;10:2;28:15
      17;9:1,9,22;10:1,13;      12:12;24:16               8:18;16:18;28:2,5        25:12                 filed (3)
      12:3,17,21,24;13:2,     Deborah (1)               discussing (1)          equal (1)                   13:10;21:18;28:10
      4,4;14:14,16;15:1,3,      4:21                      18:8                     11:24                 filing (1)
      21,23;16:15,19,25;      debtor (2)                discussion (2)          Eric (4)                    29:25
      17:3,6,10,14,17;          7:18;23:25                7:22;13:6                12:5;16:23;18:24;     fill (2)
      18:4,10,14,23;19:6,     decide (1)                dismiss (8)                21:24                    7:22;14:14
      8,10;20:5,9,14,24;        25:24                     10:12;14:1,3;         ESQ (8)                  filling (1)
      21:4,12,15,21;22:1,     decision (7)                17:23;18:15;28:14,       4:8,9,17,25;5:8,19,      13:6
      4,6,11,19;23:15;          8:1;19:13,18;             19;29:15                 20;6:7                final (1)
      24:8;25:1,17,25;          28:25;29:2,4;30:11      doctor (1)              estate (1)                  18:21
      26:4,17,21,24;27:2,     definitely (1)              16:4                     22:24                 financing (1)
      11,17,20;28:11,18,        22:18                   doctors' (2)            even (6)                    29:16
      20,22;29:5,11,19,24;    Della (1)                   7:11;10:18               13:19;18:25;19:2,     find (1)
      30:2,4,7,12,15,18,20,     22:11                   document (9)               14;24:11;29:8            13:13
      22                      DELLAPORTAS (24)            7:6;9:20;11:6;        evening (3)              fine (9)
    Court's (4)                 4:9;21:18,19,20;          21:18;22:8;26:8,13,      7:14;8:12;16:11          18:10;19:6,8;20:9;
      8:1,21;9:18;19:13         22:1,6,7,11,12,14,20;     13;27:7               events (2)                  21:15;26:18;27:17;
    covers (1)                  23:19,24;24:23;25:2,    documents (2)              22:23;23:11              29:11,19
      27:20                     18,19;26:11,16;27:7,      7:7;27:5              everybody (1)            first (4)
    COVID (1)                   14,15;28:9,17           done (8)                   10:10                    7:5;11:14;14:19;
      12:12                   Dellaportas' (1)            14:15;15:6,16;        everyone (1)                22:2
    crazy (1)                   25:10                     24:5;27:22;29:6,7,9      10:5                  Floor (3)
      27:1                    Dellaportas's (1)         down (1)                exact (2)                   4:5;5:5,16
    create (1)                  24:1                      30:10                    24:25;28:15           folks (1)
      21:14                   demonstrate (1)           dreamed (1)             exactly (1)                 16:1
    created (1)                 9:1                       26:15                    17:20                 form (1)
      7:24                    denying (1)               drive (1)               except (1)                  27:5
    creates (1)                 15:7                      13:23                    26:12                 forth (1)
      11:11                   depose (1)                DROGIN (1)              Excuse (2)                  17:6
    creating (1)                7:13                      4:20                     15:1,1                forward (1)
      20:20                   deposed (2)               During (1)              excused (2)                 13:24
    creditor (2)                11:14;21:2                24:23                    16:17,21              found (1)
      24:1,18                 deposition (19)                                   exits (1)                   7:6
    critical (1)                7:21;11:3,4,5,19;                 E                19:11                 fourth (1)
      11:20                     12:9;13:21,24;14:6;                             expressed (2)               11:9
    Cummings (2)                15:17,24;16:3;          early (2)                  8:20;10:18            Friday (4)
      24:17;25:2                17:24;19:20,22,23;         14:18;22:8           extended (1)                8:19;10:19,21;
    curious (3)                 20:4;25:20;26:1         ECF (1)                    13:16                    13:3
      13:13;28:24;29:2        determination (3)            21:18                extent (5)               front (3)
    current (1)                 16:7;18:21;19:1         echo (2)                   9:4,7;11:4;19:22;        14:13;24:24;28:5
      10:7                    determinations (1)           9:14;12:6               29:21                 full (2)
    cut (1)                     15:11                   effort (1)              eyes (1)                    13:7;14:11

   Min-U-Script®                                eScribers, LLC | (973) 406-2250                                   (2) consult - full
                                          operations@escribers.net | www.escribers.net
19-13895-jlg       Doc 503      Filed 07/22/21 Entered 07/22/21 21:49:32                 Main Document
   ORLY GENGER                              Pg 54 of 60
   Main Case No. 19-13895-jlg                                                                               April 14, 2021

    fully (1)             hearings (1)             improper (1)             9:16                       10:23
      28:11                 29:15                     10:7                kind (1)                  lines (1)
    further (2)           Herschmann (34)          inappropriate (1)        18:5                       29:23
      13:20;16:7            12:4,5,6;13:13;           10:7                knew (2)                  literally (1)
                            14:7;16:23,23;17:1,    include (1)              22:25;23:23                24:12
               G            4,18,20;18:20,22,23,      29:23               knock (1)                 litigation (3)
                            24,24;19:7,9;21:21,    incredibly (1)           11:16                      14:21,24;15:10
    gallery (1)             23,24;22:3,5;23:15,       13:8                knowing (1)               LLC (1)
      24:20                 16;26:2,7,10,22,25;    indicated (2)            15:25                      10:16
    Garrity (1)             27:2,10,18,19             9:3;22:25           KRINSKY (1)               LLP (6)
      7:3                 Herschmann's (2)         indiscernible (1)        4:20                       4:2,12,20;5:12;
    Gartman (6)             13:15;15:12               29:18               KURLAND (12)                 6:2,3
      9:10;10:14,15,16;   hit (2)                  information (6)          6:7;7:20;8:1,24;        longer (2)
      12:6;14:6             12:20;13:1                13:8,18,23;21:8;      9:12,13,13;19:16;          24:8,11
    gating (1)            home (1)                    22:13,15              27:23,25;28:1,21        Look (3)
      11:13                 13:24                  initially (1)                                       14:16,18;20:24
    gave (2)              honestly (1)                22:7                          L               looked (1)
      23:1;25:14            26:10                  instructed (1)                                      23:17
    Genger (20)           Honor (70)                  10:2                LABOV (35)                lot (1)
      4:3,13;5:3,13,13;     7:14,25;8:12,14;       intend (1)                5:8;7:9,14,15;8:6,        30:20
      7:3,7,13,15,19;       9:7,13,24;10:1,15,        28:15                  8,9,19;9:18;10:2,7,    lying (1)
      13:15;14:16;15:4,4;   17,20;12:1,5,16,19;    intention (1)             19;12:18,19,23,25;        24:25
      16:2;17:24,24;        13:3,14;14:5,11,13;       8:20                   13:3;14:25;15:2,17,
      19:19;20:1;21:9       15:19;16:9,16,23,24;   interested (1)            19,22;16:9,10,16,22;             M
    Genger's (4)            17:1,11,16,19;18:22,      9:4                    18:7;19:11;20:7,11,
      11:19;13:25;14:3,     24;19:9,12;20:13,16,   interference (1)          14,16;21:3,11,13       Makes (2)
      4                     18;21:20,23,24;22:3,      20:17               largely (1)                13:23;20:8
    Given (2)               5,7,17;23:16,16,17;    interrupting (1)          22:18                  making (2)
      18:16;20:25           24:6,10,14;25:5,6,        22:12               last (9)                   15:25;20:17
    good (8)                16,19,24;26:2,10;      into (3)                  7:22;8:19;10:1;        March (1)
      7:2,14;8:12;19:21,    27:10,16,19,25;28:2,      14:12,23;23:23         12:1;21:7;24:14;        23:19
      23;20:4;28:22;30:20   11,23,24;29:10,13,     issue (5)                 28:2,5;29:1            marked (2)
    group (1)               21;30:6,17,21             11:12;12:12;        later (2)                  25:14,20
      24:18               Honor's (6)                 13:25;14:19;28:12      18:12;23:5             MARTIN (1)
    guess (2)               7:22;15:20;17:8;       issues (9)             lawyers (1)                4:2
      18:5;21:18            19:1,3,18                 13:25;14:2,5,10;       24:18                  MARVIN (1)
                          hope (1)                    17:11,22;18:12;     least (7)                  4:2
               H            29:5                      20:19;28:5             12:14,15;17:4,6,8,     matter (4)
                          hopefully (1)            issue's (1)               12;18:1                 13:7;14:20;16:8;
    hand (7)                20:1                      12:13               leave (1)                  21:16
      9:11;12:19,21;      hours (1)                item (1)                  7:13                   matters (5)
      17:15;19:13;27:24;    24:20                     11:13               lengthy (1)                7:4;14:21;18:14;
      30:8                Hubbard (1)                                        28:10                   21:6;27:21
    handled (1)             10:16                            J            letter (11)               MAX (1)
      28:19               Hughes (1)                                         8:18;10:8;21:17,        5:20
    happened (3)            10:16                  JARED (1)                 17,22,23,25;24:8,15,   may (7)
      22:24;24:9,10                                  4:17                    15;28:10                13:14;16:17;
    happens (1)                      I             JOHN (1)               letters (24)               17:11,11;22:14;
      23:6                                           4:9                     8:4;9:5,15;10:2,2,      23:12;24:5
    happy (3)             idea (1)                 JONES (2)                 3,9,11;11:1,15;        maybe (1)
      9:8;21:14;25:23       19:23                    5:2;7:15                12:11;13:6,14;          27:3
    health (4)            ideas (1)                Judge (2)                 14:22;16:1,6,10;       McManus (4)
      13:8;16:5;19:19;      18:9                     7:2;14:25               17:2,5,9,21;18:4,6,     22:24;23:21,22;
      20:2                identified (2)                                     13                      25:22
    hear (2)                25:7,14                         K             lie (1)                   mean (2)
      12:19,21            identity (2)                                       26:20                   8:7;17:6
    heard (7)               23:20,23               KASOWITZ (3)           light (1)                 meant (1)
      9:12,23;16:20,22,   impact (1)                 6:2,3;9:14              19:18                   30:9
      24;23:3;25:22         16:5                   keep (2)               limine (1)                mechanism (1)
    hearing (10)          impose (2)                 8:2;10:14               29:22                   18:5
      10:1;11:12;12:1;      19:25;20:1             keeping (1)            limit (2)                 medical (9)
      17:22;18:2,4,7,17;  impossible (1)             19:5                    8:23;25:21              13:18,23,25;14:2,
      21:7,7                17:7                   kept (1)               limitations (1)            4,10;20:19,25;21:10

   Min-U-Script®                            eScribers, LLC | (973) 406-2250                              (3) fully - medical
                                      operations@escribers.net | www.escribers.net
19-13895-jlg      Doc 503       Filed 07/22/21 Entered 07/22/21 21:49:32                   Main Document
   ORLY GENGER                              Pg 55 of 60
   Main Case No. 19-13895-jlg                                                                              April 14, 2021

    meet (1)                 nine (1)                 others (2)               22:24;24:17           28:5
      24:23                    23:4                     19:16;24:25          phone (1)             probably (1)
    meeting (2)              None (1)                 Otherwise (1)            18:17                 11:20
      24:19,22                 29:8                     9:8                  Piazza (1)            problem (10)
    mention (1)              nonmovant (2)            out (12)                 4:21                  10:15;13:2;16:21;
      23:2                     13:18;14:10              7:22;11:10;13:6;     PITTA (7)               18:18;20:14,16;26:7,
    mentioned (1)            nonmovant's (1)            14:14;20:11,11,12;     4:8;29:12,13,21,      9,11;30:15
      29:1                     13:22                    22:4,10,13;23:8;       25;30:3,6           proceeded (1)
    met (1)                  nor (1)                    25:23                place (3)               11:1
      24:19                    29:2                   outside (1)              11:14;18:5;22:25    proceeding (1)
    might (3)                notes (1)                  24:19                placed (1)              10:5
      21:8,9;29:3              10:18                  over (2)                 10:24               proceedings (1)
    Mike (2)                 notice (1)                 18:17;21:18          play (1)                30:23
      9:24;17:19               7:21                   overall (1)              24:2                produced (1)
    mind (1)                 notices (1)                12:15                Plaza (1)               27:8
      29:3                     11:3                   own (2)                  4:14                producing (1)
    moment (3)               number (3)                 9:6;20:3             please (5)              26:8
      9:10,11;26:14            7:3;21:19;23:6                                  8:17;26:5;27:6;     productions (1)
    Monday (1)               NY (6)                              P             29:19;30:2            11:6
      8:4                      4:6,15,23;5:6,17;                             PM (1)                proposed (2)
    months (2)                 6:5                    PACHULSKI (2)            30:23                 11:22;22:22
      23:5;28:8                                         5:2;7:15             point (3)             protect (1)
    more (6)                           O              paragraph (1)            13:24;25:5;26:18      13:8
      10:10;16:12;                                      8:25                 POLLOCK (2)           protections (1)
      19:24;24:6;29:7,9      objection (1)            part (1)                 5:12,19               11:25
    most (8)                    10:18                   18:6                 position (4)          protective (1)
      11:20;15:7,13;         obviously (8)            particularly (1)         9:3,25;10:8;13:19     7:8
      16:6;18:20;23:7,7;        9:19;11:24;14:13;       11:18                positions (1)         provide (3)
      27:3                      19:5,13;20:18,22;     parties (24)             11:19                 10:3;20:2;27:6
    motion (19)                 23:11                   7:10,12,17,17,23,    possibilities (1)     provided (1)
      8:20;9:7;10:12;        off (2)                    24;8:22;9:4;10:17,     23:7                  10:17
      13:10;14:1,3,4;15:7;      8:7;11:16               22,25;11:2,3,11,18, possible (2)           provisions (2)
      17:23;18:14,15;28:3,   officer (1)                23;13:21;14:21,24;     19:14;24:21           10:3;14:9
      4,7,13,14,19;29:15,       26:17                   15:9;19:15,16;29:14, possibly (1)          purposes (1)
      16                     once (2)                   22                     19:16                 18:4
    motions (1)                 12:8;28:1             party (3)              potentially (2)       pursuant (2)
      29:22                  One (16)                   8:3;9:19;13:18         17:10;20:6            7:7;9:20
    moving (1)                  4:14;7:16;9:10,11;    past (2)               prenuptial (2)        put (4)
      19:15                     10:17;15:14;16:19;      8:4;10:1               13:16;15:12           17:6;22:24;24:14;
    much (8)                    18:1;24:3,17;25:13;   pattern (1)            presence (1)            30:11
      12:3;16:12;21:15;         27:8,8;28:15;29:7,9     24:7                   24:20
      27:18,22;28:21;30:4,   only (9)                 PAUL (3)               present (1)                    Q
      16                        7:10;8:23;9:16;         5:8;7:14;16:10         18:7
    myself (1)                  10:10;22:13;24:3;     pending (1)            presentation (1)      quasi (1)
      8:24                      25:13,21;27:13          8:1                    8:25                  24:9
                             operated (1)             Penn (1)               presented (1)         quite (1)
              N                 12:10                   4:14                   25:1                  28:9
                             opportunity (4)          people (2)             pressure (1)          quoting (1)
    name (9)                    11:4;15:5;17:13;        11:16;13:9             30:11                 10:21
      22:10,21;23:1,3,9;        18:3                  per (1)                presume (1)
      25:23;26:8;27:9,13     option (1)                 15:20                  12:12                         R
    narrower (2)                18:1                  perfectly (1)          pretty (1)
      28:8,16                order (20)                 27:15                  13:4                raise (2)
    necessary (1)               7:6,8,22;8:22;9:1,    perhaps (2)            previously (1)          17:10;20:5
      19:4                      21;10:4;11:25;13:4,     19:22;20:4             12:12               raised (3)
    need (5)                    7;15:5,22;16:11,12;   period (1)             principle (1)           12:20,22;19:13
      10:12;14:9;18:3,          20:7;22:22;24:13;       11:17                  24:22               rather (1)
      20;30:13                  25:7;29:17;30:1       person (5)             prior (4)               28:12
    needs (3)                ordered (2)                19:20;23:1,5;          12:6;16:17;24:17,   reach (1)
      13:14;16:13,18            13:11;23:18             25:14,22               24                    20:11
    New (6)                  Orly (5)                 personally (1)         private (3)           read (4)
      4:6,15,23;5:6,17;         5:13,13;7:3;14:4,       9:15                   13:8,18,22            20:18;26:2,3,6
      6:5                       17                    ph (2)                 pro (1)               really (4)

   Min-U-Script®                               eScribers, LLC | (973) 406-2250                           (4) meet - really
                                         operations@escribers.net | www.escribers.net
19-13895-jlg     Doc 503        Filed 07/22/21 Entered 07/22/21 21:49:32                   Main Document
   ORLY GENGER                              Pg 56 of 60
   Main Case No. 19-13895-jlg                                                                                 April 14, 2021

      9:6;15:14;25:15;    represents (1)            scam (1)                six (1)                     7:9
      26:6                   7:18                      26:19                   28:7                   subpoena (5)
    reason (2)            request (3)               scheduling (1)          sixth (1)                   7:20;11:7,9;12:8;
      11:22;18:11            7:5,6;14:14               29:25                   11:9                     14:18
    reasonable (1)        requested (3)             seal (4)                solicited (1)             subpoenaed (2)
      20:21                  7:13;22:8,8               7:7;8:20;9:8;17:23      24:19                    12:9;22:8
    reasons (1)           reservation (1)           sealing (1)             somebody (1)              subpoenas (2)
      10:20                  10:9                      25:21                   27:4                     7:19;11:3
    recall (1)            reserve (1)               second (2)              somewhat (1)              substitute (1)
      13:15                  17:9                      16:19;18:3              13:13                    19:17
    receive (5)           resolved (1)              seeing (1)              sorry (12)                suggestion (2)
      8:18,22;9:15;          12:13                     9:5                     8:7;10:14;15:2,2;        20:17;23:24
      10:25;11:6          respect (9)               seek (1)                   20:17;21:24;22:12,     supplement (1)
    received (2)             13:17;14:12;              13:21                   17;26:4,5;27:23;         19:4
      9:16;22:9              15:11;19:12;20:18,     SEGAL (2)                  30:9                   suppose (2)
    recognized (1)           19;21:17;28:4;29:23       4:12,12              sort (3)                    14:7;16:11
      12:1                respectfully (7)          sell (1)                   13:16,23;17:20         sure (7)
    recognizing (2)          15:7,13;16:6;             18:15                sounds (1)                  13:1,2,4;16:11;
      28:11,17               17:13;18:20,25;27:3    send (1)                   24:12                    17:14,20;19:6
    record (13)           restricted (1)               19:23                SPEAKER (2)
      7:23,23,24;10:25;      11:23                  sense (4)                  30:17,21                         T
      13:7,7;14:11,14;    restriction (1)              11:17;13:23;20:8;    specifically (1)
      19:2,5;28:1,3,24       10:24                     28:24                   25:8                   talked (1)
    records (1)           returned (1)              sensitive (1)           speculate (1)                21:5
      8:2                    24:21                     16:13                   23:14                  talking (3)
    redacted (2)          review (2)                serve (4)               spelled (1)                  11:15;27:12,13
      22:10;27:12            17:5;28:7                 7:20;11:9;28:15,        25:23                  TARTER (1)
    re-examining (1)      reviewed (1)                 15                   standard (1)                 4:20
      18:19                  10:10                  served (5)                 9:20                   terms (2)
    refer (1)             right (33)                   7:18;11:2,7;21:18;   STANG (2)                    11:12,13
      18:6                   7:2,13;8:10;9:9,          28:4                    5:2;7:15               testified (2)
    regarding (1)            10,22;10:13;12:17;     serving (1)             start (1)                    23:22,22
      8:19                   13:22;15:3;16:2,8;        20:6                    14:1                   testify (1)
    regular (1)              17:1,10,14;18:10;      session (1)             state (2)                    18:2
      26:23                  21:3,21;22:6;23:15;       18:6                    18:9;20:25             testimony (2)
    related (1)              25:12,17,25;26:21,     settlement (1)          statement (1)                17:25;25:10
      21:6                   24;27:2,13,20;28:20,      24:22                   24:1                   Texas (3)
    relates (1)              22;30:7,16,20          seventeen-page (2)      states (1)                   24:17,18;26:12
      16:8                rights (1)                   24:15;28:10             10:20                  thanks (2)
    relating (1)             10:9                   several (1)             step (1)                     12:25;30:20
      16:18               ROCCO (2)                    23:17                   13:20                  Third (2)
    relatively (1)           4:25;28:23             share (1)               still (1)                    5:4;13:18
      20:6                RODRIGUEZ (2)                8:2                     30:7                   third-party (3)
    relevance (1)            5:20;29:17             shared (1)              stop (4)                     7:19;13:22;14:18
      11:19               Rule (2)                     9:17                    24:7;25:5,16;          THOMAS (1)
    relevancy (3)            28:2,13                sharing (1)                26:20                     4:8
      14:12;20:19;21:4    ruling (6)                   13:5                 straightforward (1)       though (1)
    relevant (7)             9:18;14:20;15:25,      short (3)                  23:8                      18:25
      10:11;12:15;           25;17:8;19:3              11:17;16:11;20:6     Street (1)                thought (5)
      17:21;18:12,14;                               shortly (1)                5:15                      8:21,23;10:6;
      21:8;23:13                    S                  29:6                 strongly (1)                 19:25;26:15
    remembered (2)                                  show (2)                   10:10                  three (3)
      28:8,16             Sagi (4)                     14:7;25:23           stuff (1)                    10:3,8;11:10
    reports (3)             4:3;13:25;14:3,17       significance (1)           16:13                  timing (1)
      7:11;15:9;16:4      sale (1)                     22:16                subject (10)                 28:25
    representation (2)      29:16                   significant (1)            8:22,25;9:18;          today (2)
      25:10;26:16         same (4)                     22:23                   10:22;14:8,22;15:10,      18:8;27:21
    representations (1)     10:19;12:8;25:8;        simplest (1)               22;16:11;21:9          together (1)
      23:21                 28:15                      26:15                submission (1)               28:2
    represented (3)       saw (1)                   sit (3)                    7:12                   TOGUT (1)
      28:9,9,17             12:21                      14:6;16:2;17:7       submissions (1)              4:12
    representing (1)      saying (3)                sitting (2)                20:18                  told (4)
      24:9                  13:14;15:8;24:12           19:19;26:12          submitted (1)                9:17;17:14;23:4;

   Min-U-Script®                            eScribers, LLC | (973) 406-2250                                 (5) reason - told
                                      operations@escribers.net | www.escribers.net
19-13895-jlg      Doc 503       Filed 07/22/21 Entered 07/22/21 21:49:32                  Main Document
   ORLY GENGER                              Pg 57 of 60
   Main Case No. 19-13895-jlg                                                                        April 14, 2021

      24:17
    TOREES (1)                         V                       Y                      5
      6:2
    Torres (2)               via (2)                York (6)              5:45 (1)
      6:3;9:14                  9:18;18:17            4:6,15,23;5:6,17;     30:23
    transcript (3)           video (1)                6:5                 5th (1)
      25:20,24;26:3             19:20                                       23:19
    troubling (1)            view (3)                          Z
      24:6                      8:20,21;17:21                                         6
    true (3)                 violated (1)           ZIEHL (2)
      14:5,8,9                  24:13                 5:2;7:15            60 (1)
    Trust (7)                vociferously (1)       Zoom (1)                5:15
      5:13,14;21:6;22:9;        9:3                   18:17
      23:9;28:25;29:7                                                                 7
    Trustee (26)                      W                        1
      4:21;7:12;22:10,                                                    7 (1)
      21,23,25;23:1,5,10,    wait (1)               10004 (1)                4:21
      12,20,23,25;24:3,10,     27:23                  5:17                780 (1)
      19,21,25;25:8,9,13;    waiting (1)            10017 (1)                5:4
      26:8,17,25;27:9,13       10:14                  5:6
    trustee's (3)            wants (6)              10018 (1)                         9
      24:17,24;29:16           13:17;16:22;           4:23
    truthful (1)               21:24;26:18;29:7,9   10019 (1)             9011 (2)
      25:24                  way (4)                  6:5                   28:2,13
    trying (2)                 12:10;23:8;25:6;     10119 (1)
      25:21;30:11              26:14                  4:15
    twenty (1)               week (4)               10271 (1)
      24:2                     7:22;24:14;29:1,2      4:6
    two (2)                  wellbeing (1)          11b (1)
      17:25;18:9               16:5                   8:25
                             what's (5)             120 (1)
              U                12:11;14:16;23:8;      4:4
                               24:6,9               1350 (1)
    under (7)                Whereupon (1)            4:22
      9:16;10:3,8,9;           30:23                1633 (1)
      11:25;12:15;17:23      who's (3)                6:4
    understood (3)             25:24,25;26:17       19-13895 (1)
      7:21;21:11;29:10       wish (3)                 7:3
    UNIDENTIFIED (2)           9:12,23;16:20        1993 (1)
      30:17,21               without (1)              5:13
    unless (2)                 14:21
      12:2;22:4              witness (4)                       2
    unredact (3)               11:20;12:8;24:2;
      26:14;27:5,9             25:23                24th (1)
    unredacted (4)           witnesses (1)            5:16
      22:18,21;23:9;           11:5                 2nd (1)
      26:8                   Word (1)                 23:19
    unseal (1)                 27:5
      18:4                   work (5)                          3
    untrue (1)                 18:16;20:11,12;
      25:3                     27:4,4               32nd (1)
    untruthful (1)           worked (2)               4:5
      25:25                    22:4,5               34th (1)
    up (8)                   working (1)              5:5
      9:11;14:8,19;            29:5
      17:15;20:9;26:25;      world (1)                         4
      27:24;30:8               25:6
    update (2)               writing (3)            407 (1)
      7:16,25                  24:8;25:1,14           7:6
    upon (3)                 written (2)            408 (1)
      16:4;20:7;21:5           19:23;25:3             21:19
    use (2)
      10:22,22

   Min-U-Script®                              eScribers, LLC | (973) 406-2250                    (6) TOREES - 9011
                                        operations@escribers.net | www.escribers.net
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 58 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 59 of 60
19-13895-jlg   Doc 503   Filed 07/22/21 Entered 07/22/21 21:49:32   Main Document
                                     Pg 60 of 60
